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 EXHIBIT G
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                                                                           Page 1
 1                   UNITED STATES DISTRICT COURT
 2                NORTHERN DISTRICT OF CALIFORNIA
 3                      SAN FRANCISCO DIVISION
 4
 5   _________________________
 6   ORACLE AMERICA, INC.,              )
 7            Plaintiff,                )
 8     vs.                              ) No. CV 10-03561 WHA
 9   GOOGLE, INC.,                      )
10            Defendant.                )
11   _________________________)
12
13
14           HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
15
16              VIDEOTAPED DEPOSITION OF JOHN ROSE
17                     WEDNESDAY, FEBRUARY 15, 2012
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19
20
21
22
23
24
25   PAGES 1 - 111


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                                                                                    Page 12
 1          A.   I'm referring precisely to the e-mails in my
 2   sent box from my mailer that I sent to counsel and to
 3   the rest of the team doing this particular exercise
 4   during the dates of the exercise, which were
 5   approximately a week and a half.
 6          Q.   Do you know whether those e-mails are
 7   included in the folders that Mr. Norton brought with
 8   him?
 9          A.   I would not be surprised to find them there,
10   but I don't know whether they are in there.
11          Q.   Did any of those e-mails refresh your
12   recollection about the topics about your work that you
13   conducted in this case?
14               MR. NORTON:         Objection to form.                   You can
15   answer.
16               THE WITNESS:          There was nothing surprising in
17   the e-mails.       I looked to see if there was anything
18   that I was missing in my memory, and there was
19   nothing.     So I was confident that we had properly
20   disclosed to counsel all the pieces of our process.
21   BY MR. MULLEN:
22          Q.   Okay.     Mr. Rose, you are currently employed
23   by Oracle; correct?
24          A.   Yes.
25          Q.   And how long have you been with Oracle for?


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                                                                              Page 13
 1        A.   Since the acquisition of Sun Microsystems.
 2        Q.   Was that around 2009?
 3        A.   I believe so.
 4        Q.   And what is your title at Oracle?
 5        A.   Consulting engineer.
 6        Q.   Do you have a specific field of expertise?
 7        A.   Yes.
 8        Q.   What is that?
 9        A.   Java Virtual Machine design, Java language
10   design, JIT compiler design.
11       Q.    Okay.     And so you were formerly at Sun; is
12   that right?
13       A.    That's right.
14       Q.    And when I say Sun, you understand that means
15   Sun Microsystems?
16       A.    Yes.
17       Q.    And how long were you at Sun for?
18       A.    20 -- 23 years, I think.                    One loses count.
19       Q.    Understood.
20             And what was your title at the time of the
21   Sun/Oracle acquisition?
22       A.    What did they call me?                  I think it was
23   principal engineer.          The titles are different.
24       Q.    If you could, briefly describe your
25   educational background.


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                                                                                        Page 26
 1   request.
 2        A.    Tuesday.      It was -- it was our main -- it was
 3   our main item of business that Tuesday.
 4        Q.    Do you recall how long the meeting lasted in
 5   terms of hours?
 6        A.    Probably about eight hours.
 7        Q.    Was counsel present the full time?
 8        A.    The full workday, and they were present for
 9   the entire time.
10       Q.     But other than what you just described to me
11   and setting aside legal advice from counsel, there was
12   nothing else that counsel said at the meeting?
13       A.     Not that I recall.
14       Q.     I won't ask you about the substance of any
15   legal advice counsel provided, but did counsel provide
16   legal advice?
17              MR. NORTON:        You can answer that with a yes
18   or no, if you remember.
19              THE WITNESS:         I believe they did.                    So, yeah.
20   That would be a yes.
21   BY MR. MULLEN:
22       Q.     So, Mr. Rose, was the first step that you and
23   the team took in the project identifying these 22
24   technology blocks that you've referenced?
25       A.     Yes.


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                                                                           Page 27
 1         Q.   And how did you go about deciding what 22
 2   technology blocks should be included?
 3         A.   There were several -- several people present
 4   with different areas of expertise, and so we all said
 5   here's what we think such a device would be made up
 6   of.   It was -- it was a fairly straightforward
 7   exercise because each of us in the room had
 8   participated for years in building similar systems.
 9   So we all looked back in our own experience to what --
10   how those systems are built up, and we attempted to
11   build, in our brainstorming, a common model so that we
12   would have a common set of -- of terms to do our
13   collaborative work with.
14         Q.   When --
15              MR. NORTON:       Were you finished with your
16   answer?
17              THE WITNESS:        Restate the question so I can
18   make sure I answered it fully, please.
19              (Record read by the reporter.)
20              THE WITNESS:        Yes.
21              Primarily our individual experience as
22   engineers, which then we consensually worked into a
23   set of terms that we would agree to use for the
24   purpose of the exercise, and that relates to -- well,
25   all of our experience.           We also looked at the PRD


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 1   document, which had been supplied to us, as a good
 2   representation of the technical matters between Sun
 3   and Google in their negotiations.                    And we looked at
 4   that and we said, "Okay, does this match up with our
 5   understanding of how such devices are built?"                            Which,
 6   of course, it did, because we were all VM builders,
 7   and two of us were mobile device builders.                            But we
 8   used that as a cross-check to make sure we were
 9   getting the right modules in place.
10       Q.   You said "two of us were mobile device
11   builders"?
12       A.   That's right.
13       Q.   Who were those two?
14       A.   Hinkmond and Chris.                They have specific
15   extensive experience in building such systems.
16       Q.   I'm sorry, were you...
17       A.   Yes, I'm done.
18       Q.   Do you have any experience in building mobile
19   device systems?
20       A.   Indirectly.         I have general experience in
21   building all sorts of Java Virtual Machines, and that
22   technology which I contributed to is often used for
23   such purposes, as far as I know, although I am not on
24   the teams that apply it to that application.
25       Q.   So is it fair to say that you've never


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                                                                              Page 41
 1   BY MR. MULLEN:
 2        Q.   When you say, again about halfway down the
 3   page, that you went to find out about Android and
 4   specifically their Java story, what did you mean by
 5   "their Java story"?
 6        A.   At that point they were saying, "We have this
 7   exciting platform which let's you program in Java
 8   on -- for a mobile device; and we've got this cool
 9   technology," and so I went to go see how it worked.
10       Q.    And this post accurately describes what you
11   learned at the Google I/O?
12       A.    Yes.    It's my best effort to do so.
13       Q.    As of that date, May 31, 2008, did you have
14   an understanding of what technologies would be
15   important to Android?
16       A.    A much better understanding after going to
17   Google I/O, yes.
18       Q.    Did that understanding affect your analysis
19   in any way in the work that you did with Dr. Reinhold?
20       A.    No.
21       Q.    Not at all?
22       A.    No.    Because we were instructed to think as
23   of 2006, so that's what we did.                  We had plenty to work
24   on with our own patent portfolio without worrying too
25   much about what happened after 2006.


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 1   read a patent and evaluate its nature without
 2   attempting to implement it.               That's typical of senior
 3   engineers, that they can make reasonably trustworthy
 4   evaluations of proposals like that.
 5   BY MR. MULLEN:
 6        Q.   Did you ever look at past licensing practices
 7   with respect to any of the patents?
 8        A.   Licensing?        No.      I don't think so.                  If I
 9   understand the question, you mean -- can you rephrase?
10       Q.    Did you ever look at whether Sun or Oracle
11   had ever licensed the patent in the past?
12       A.    I'm completely ignorant of that.                            I produce
13   and evaluate patents, but I do not apply them to
14   licensees.
15       Q.    Did you ever look at whether Sun or Oracle
16   had ever practiced the patent in the past?
17             MR. NORTON:        Objection to form.
18             THE WITNESS:         When you say "the patent," what
19   do you mean?
20   BY MR. MULLEN:
21       Q.    Any of the patents that you reviewed, as a
22   team or personally.
23       A.    Since some of the patents were mine, I was
24   quite well aware of which ones -- which of those had
25   been practiced.      So some of them, yes, I was familiar


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 1   with the patent already.
 2        Q.   By "mine," do you mean you were the named
 3   inventor of the patent?
 4        A.   Yeah.
 5        Q.   Before beginning this exercise, did you have
 6   familiarity with some of the patents?
 7        A.   Yes.
 8




16        Q.


                                                                            m




22        Q.




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                                          .
15   BY MR. MULLEN:
16




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                                                                            Page 107
 1            I declare under penalty of perjury
 2     under the laws of the State of California
 3     that the foregoing is true and correct.
 4                    Executed on __________________, 2012,
 5   at _______________, ___________________.
 6
 7
 8
 9             _______________________________
10                  SIGNATURE OF THE WITNESS
11
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                                                                            Page 108
 1   STATE OF CALIFORNIA          ) ss:
 2
 3      I, SANDRA LEE HOCKIN, C.S.R. No. 7372, do hereby
 4   certify:
 5       That the foregoing deposition testimony was
 6   taken before me at the time and place therein set
 7   forth and at which time the witness was administered
 8   the oath;
 9       That the testimony of the witness and all
10   objections made by counsel at the time of the
11   examination were recorded stenographically by me,
12   and were thereafter transcribed under my direction
13   and supervision, and that the foregoing pages
14   contain a full, true and accurate record of all
15   proceedings and testimony to the best of my skill
16   and ability.
17       I further certify that I am neither counsel for
18   any party to said action, nor am I related to any
19   party to said action, nor am I in any way interested
20   in the outcome thereof.
21        IN WITNESS WHEREOF, I have subscribed my name
22   this 16th day of February, 2012.
23
24
                    __________________________________
25                  SANDRA LEE HOCKIN, C.S.R. No. 7372


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